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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                            SOUTHERN DMSION
                                  LONDON

CRIMINAL ACTION NO.           0 ·-21-/-02-- '$ 7 -C \-tJs - [l3 V-1-- I
UNITED STATES OF AMERICA                                                      PLAINTIFF


v.                                 PLEA AGREEMENT


STEPHANIE COLLINS                                                           DEFENDANT

                                       * * *    * *
       1. Pursuant to Federal Rule of Criminal Procedure ll(c), the Defendant Stephanie

Collins ("Defendant") will enter a guilty plea to Count 1 of the Information, charging

a violation of 18 U.S.C. § 1347.

       2. The essential elements of the offense are:

             (a) that the Defendant knowingly and willfully executed a scheme to defraud
      a health care benefit program, or to obtain, by means of false or fraudulent pretenses,
      representations, or promises money owned by, or in the control of, a health care
      benefit program, in connection with the delivery of health care benefits, items, or
      services;

            (b) that the scheme related to a material fact or included a material
      misrepresentation or concealing of a material fact; and

              (c) that the Defendant had the intent to defraud.

      3. The Defendant agrees that the United States would prove the facts described in

Paragraph 4 below (the "Factual Basis"), beyond a reasonable doubt at trial.            The

Defendant also agrees that these facts fairly and accurately describe the Defendant's

actions and involvement in the offense for which she is charged, and to which she is
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pleading gnilty, and establish the essential elements of this offense beyond a reasonable

doubt. Further, the Defendant agrees that, effective as of the date the Defendant signs this

Plea Agreement, and notwithstanding any other subsequent event, including but not limited

to the Defendant's failure to plead gnilty, the Court's refusal to accept the Defendant's

gnilty plea, or the Defendant's withdrawal (or attempted withdrawal) of her gnilty plea, the

"Factual Basis" set forth in this Plea Agreement shall be admissible against the Defendant

in any criminal case involving the United States and the Defendant, as: (a) substantive

evidence offered by the United States in its case-in-chief and rebuttal case; (b)

impeachment evidence offered by the United States on cross-examination; and (c) evidence

at any sentencing hearing or other hearing. In addition, the Defendant also agrees not to

assert any claim under the Federal Rules of Evidence (including Rule 410 of the Federal

Rules of Evidence), the Federal Rules of Criminal Procedure (including Rule 11 of the

Federal Rules of Criminal Procedure), or the United States Sentencing Guidelines

(including USSG § lBl.l(a)) that the "Factual Basis" set forth in this Plea Agreement

should be suppressed or is otherwise inadmissible as evidence (in any form).

       4.     As to Count 1 of the Information, the United States could prove the following

facts that establish the essential elements of the offense beyond a reasonable doubt, and the

Defendant admits these facts:

              (a) During the timeframe described in the Information, the Defendant was a
       registered pharmacist licensed to practice in the Commonwealth of Kentucky.
       During that time, the Defendant owned and operated Stephanie's Down Home
       Pharmacy, Inc. ("SDHP"), a retail pharmacy in located in Corbin, Kentucky.



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              (b) During the relevant timeframe, SDHP dispensed a variety of prescription
       drugs to its customers pursuant to prescriptions issued by those customers' health
       care providers. Some SDHP customers received prescriptions for prescription drugs
       with a refill option from their prescribers. SDHP sought reimbursement for items
       such as prescription drugs from Medicare and Kentucky Medicaid, both of which
       were health care benefit programs under 18 U.S.C. § 24(b).

               (c) In the course of its operations, SDHP employees ordinarily used a
       computer system when filling prescriptions which tracked certain information
       relating to the prescriptions, generated prescription labels, and electronically
       submitted claims for payment to Medicare and Kentucky Medicaid.

              (d) In some instances, the Defendant and other SDHP employees used the
       SDHP computer system to submit claims for payment to Medicare and Kentucky
       Medicaid for prescription drugs that patients never picked up or did not otherwise
       receive from SDHP. SDHP, with the Defendant's knowledge and at the
       Defendant's direction, retained payments for these drugs even though SDHP never
       ultimately dispensed them to customers. These claims were materially false because
       Medicare and Kentucky Medicaid would not have otherwise reimbursed SDHP for
       these drugs had they known that the drugs were not actually dispensed to SDHP's
       patients. In total, Medicaid and Medicare reimbursed SDHP $627,614.60 for these
       false and fraudulent prescription drug claims.

               (e) Further, in some instances, SDHP, with the Defendant's knowledge and
       at the Defendant's direction, submitted claims for payment to Kentucky Medicaid
       for more expensive (and higher reimbursing) diabetic test strips, yet provided less
       expensive (and lower reimbursing) test strips to SDHP customers. This enabled
       SDHP to realize a larger profit when seeking reimbursement for these test strips.
       These claims were materially false because Kentucky Medicaid would not have
       otherwise reimbursed SDHP for test strips which were more expensive than the test
       strips provided to SDHP's patients. In total, Medicaid reimbursed SDHP
       $102,441.18 for these false and fraudulent prescription claims for diabetic test
       strips.

             (f) The events described above occurred in and around the Eastern District
       of Kentucky.

       5. The statutory punishment for the sole count in the Information is imprisonment

for not more than 10 years, a fine of not more than $250,000 or twice the gross gain or

gross loss, and supervised release of no more than 3 years. A mandatory special assessment
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of $100 applies, and the Defendant will pay this assessment to the U.S. District Court Clerk

at the time of the entry of the plea.

       6. Pursuant to Rule l l(c)(l)(B), the United States and the Defendant recommend

the following sentencing guidelines calculations, and they may object to or argue in favor

of other calculations. This recommendation does not bind the Court:

            (a) United States Sentencing Guidelines (U.S.S.G.), November 1, 2023,
       manual, will determine the Defendant's guidelines range.

               (b) Pursuant to U.S.S.G. § 2Bl.l, the base offense level is 6.

              (c) Pursuant to U.S.S.G. § 2Bl.l(b)(l)(H), increase the offense level by 14
       levels because the loss is greater than $550,000 but less than $1,500,000.

               (d) The United States will argue at sentencing for a 2-level increase pursuant
       to U.S.S.G. § 3Bl.3 because the defendant abused a position of public or private
       trust, or used a special skill, in a manner that significantly facilitated the commission
       or concealment of the offense. The Defendant may oppose the imposition of this
       enhancement at sentencing.

               (e) Pursuant to U.S.S.G. § 3El.l and unless the Defendant commits another
        crime, obstructs justice, or violates a court order, decrease the offense level by
        2 levels for the Defendant's acceptance of responsibility. If the offense level
        determined prior to this 2-level decrease is level 16 or greater, the United States will
        move at sentencing to decrease the offense level by 1 additional level based on the
        Defendant's timely notice of intent to plead guilty.

               (f) Pursuant to U.S.S.G. § 4Cl.l and provided that the Defendant does not
        receive any criminal history points under U.S.S.G. Chapter Four, Part A, decrease
        the offense level by 2 levels.

              (g) Pursuant to U.S.S.G. § SEl.1 and 18 U.S.C. § 3663A, restitution is
        $730,055.78, and the victims are Medicare and Kentucky Medicaid.

        7. No agreement exists about the Defendant's criminal history category pursuant to

U.S.S.G. Chapter 4.

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       8. The Defendant will not file a motion for a decrease in the offense level based on

a mitigating role pursuant to U.S.S.G. § 3Bl.2 or a departure motion pursuant to U.S.S.G.

Chapter 5, Parts Hor K. The Defendant, however, may seek a sentence below the advisory

sentencing guidelines range as determined by the Court at sentencing.

       9.   The Defendant waives the right to appeal the guilty plea, conviction, and

sentence. Except for claims of ineffective assistance of counsel, the Defendant also waives

the right to attack collaterally the guilty plea, conviction, and sentence.

       l 0. The Defendant agrees to surrender her pharmacy license to the Kentucky Board

of Pharmacy and that she will voluntarily surrender her Drug Enforcement Administration

("DEA") registration.

       11. The United States will recommend releasing the Defendant prior to reporting

to the Bureau of Prisons for service of any term of incarceration on the current conditions

for future court appearances if the Defendant does not violate the terms of the order setting

conditions of release.

       12. The Defendant consents to the imposition of forfeiture money judgment in the

amount of $730,055.78, which represents the amount of proceeds that the Defendant

obtained as a result of the offense to which she is pleading guilty. The Defendant consents

to the entry of a Preliminary Order of Forfeiture, pursuant to Federal Rule of Criminal

Procedure 32.2. If the Defendant fails to pay in full the forfeiture money judgment, she

consents to the forfeiture of any other property of hers up to the amount of the forfeiture

money judgment pursuant to 21 U.S.C. § 853(p), and further agrees that the conditions of

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21 U.S.C. § 853(p)(l)(A)-(E) have been met. The Defendant voluntarily and knowingly

waives all provisions in Rule 32.2 pertaining to notice and/or the timing of forfeiture

orders. The Defendant also waives his/her right, if any, to a jury trial on forfeiture and all

constitutional, legal, or equitable defenses to the forfeiture. The Defendant agrees that this

forfeiture is separate and distinct from any restitution, fine, or penalty ordered by the Court

and shall survive bankruptcy. The United States agrees to request restoration of any

property forfeited or funds collected pursuant to the forfeiture money judgment identified

in this Paragraph, seeking application of forfeited property to the restitution obligation set

forth in Paragraph 6(g), if the requirements of 28 C.F.R. § 9.2(b) are met.

       13. The Defendant agrees to pay restitution in the amount of $730,055.78 Medicare

and Kentucky Medicaid as ordered at sentencing pursuant to 18 U.S.C. § 3663(a)(3). The

Defendant agrees that the restitution amount may include restitution for all losses caused

by the Defendant's criminal conduct or through the commission of the offense of

conviction, even if such losses resulted from crimes not charged or admitted by Defendant

in the factual basis.

       14. The Defendant agrees to cooperate fully with the United States Attorney's

Office by making a full and complete financial disclosure. Within 30 days of pleading

guilty, the Defendant agrees to complete, sigu, and return to the United States Attorney's

Office a financial disclosure statement or affidavit disclosing all assets in which the

Defendant has any interest or over which the Defendant exercises control, directly or

indirectly, including those held by a spouse, nominee, or other third party, and disclosing

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any transfer of assets that has taken place within three years preceding the entry of this plea

agreement. Upon request, the Defendant agrees to provide the United States Attorney's

Office with records verifying his/her financial information or with any releases required to

obtain such records, with such releases being valid for a period extending 90 days from the

date of sentencing. The Defendant will submit to an examination, which may be taken

under oath and may include a polygraph examination. Prior to sentencing, the Defendant

agrees to notify the United States Attorney's Office and obtain its consent before

transferring, encumbering, or disposing of any interest in property with a value exceeding

$1,000.00 owned or controlled directly or indirectly, individually or jointly, by the

Defendant, including any interest held or owned under any name, including trusts,

partnerships, and corporations. If the Defendant is ever incarcerated in connection with this

case, the Defendant will participate in the Bureau of Prisons Inmate Financial

Responsibility Program, regardless of whether the Court specifically directs participation

or imposes a schedule of payments. The Defendant agrees to notify the United States

Attorney's Office of any material changes in his/her economic circumstances, as described

in 18 U.S.C. § 3664(k), which occur prior to sentencing, within seven days of the event

giving rise to the changed circumstances. If the Defendant fails to comply with any of the

provisions of this paragraph, the United States, in its discretion, may refrain from moving

the Court pursuant to U.S.S.G. § 3El.l(b) to reduce the offense level by one additional

level, and may argue that the Defendant should not receive a two-level reduction for

acceptance of responsibility under U.S.S.G. § 3El.l(a).

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      15. The Defendant understands and agrees that, pursuant to 18 U.S.C. § 3613,

whatever monetary penalties are imposed by the Court will be due and payable

immediately and subject to immediate enforcement by the United States. If the Court

imposes a schedule of payments, the Defendant agrees that it is merely a minimum

schedule of payments and not the only method, nor a limitation on the methods, available

to the United States to enforce the judgment. The Defendant waives any requirement for

demand of payment on any fine, restitution, or assessment imposed by the Court and agrees

that any unpaid obligations will be submitted to the United States Treasury for offset. The

Defendant waives any defense or objection to any action to enforce the collection of

fmancial obligations to be imposed in connection with this prosecution, including, but not

limited to, collection procedures authorized by the Federal Debt Collection Procedures Act,

28 U.S.C. § 3001, et seq., 18 U.S.C. § 3664, or 18 U.S.C. § 3613. The Defendant expressly

authorizes the United States to obtain the Defendant's credit reports at any time. The

Defendant authorizes the U.S. District Court to release funds posted as security for the

Defendant's appearance bond in this case, if any, to be applied to satisfy the Defendant's

financial obligations contained in the judgment of the Court. The Defendant authorizes the

United States Attorney's Office to inspect and copy all financial documents and

information held by the U.S. Probation Office.

       16. If the Defendant violates any part of this Agreement, the United States may

void this Agreement and seek an indictment for any violations of federal laws, and the

Defendant waives any right to challenge the initiation of additional federal charges.

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       17. This document contains the complete and only Plea Agreement between the

United States Attorney for the Eastern District of Kentucky and the Defendant. The United

States has not made any other promises to the Defendant.

       18. This Agreement does not bind the United States Attorney's Offices in other

districts, or any other federal, state, or local prosecuting authorities.

       19. The Defendant and the Defendant's attorney acknowledge that the Defendant

understands this Agreement, that the Defendant's attorney has fully explained this

Agreement to the Defendant, and that the Defendant's entry into this Agreement is

voluntary.



                                                    CARLTON S. SHIER, IV
                                                    UNITED STATES ATTORNEY


       Date:                                 By:
                                                          ew . m1th
                                                       sistant United States Attorney




       Date:    .s/;o/:2'1
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                                                    Gw/~:L{
                                                    Stephanie Collins
                                                                      ~
                                                    Defendant




                                                    Attorney for Defendant



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